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                           EXHIBIT “A”


                  DECLARATION OF COUNSEL




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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                           PENSACOLA DIVISION

 IN RE: 3M COMBAT ARMS                       )   Case No. 3:19-md-02885
 EARPLUG PRODUCTS LIABILITY                  )
 LITIGATION                                  )   Judge M. Casey Rodgers
                                             )
                                             )   Magistrate Judge Hope T. Cannon
 This Document Relates to:                   )
 All Cases                                   )
                                             )

                    DECLARATION OF CAE COUNSEL
                  PURSUANT TO IDENTIFICATION ORDER

1.      My name is [INSERT NAME OF CAE COUNSEL], and I am an attorney at

        [INSERT NAME OF LAW FIRM] (collectively “CAE Counsel”).

2.      I submit this Declaration in accordance with the Combat Arms Settlement

        Agreement and the Court’s Identification Order on behalf of myself and my

        firm.

3.      Attached hereto is the chart that identifies all Eligible Claimants in which I

        or my firm are Primary Counsel, as defined in the Master Settlement

        Agreement. The attached chart will be timely served in both hard copy and

        in EXCEL format to MDL-Centrality in conformance with the Identification

        Order, and contains, to the best of my knowledge, the required demographic

        and contact information regarding my firms’ Eligible Clients in which I or

        my firm are Primary Counsel.


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4.      I understand that the obligation to identify all Eligible Claimants in which I

        or my firm is Primary Counsel applies regardless of whether the Eligible

        Claimants intend to participate in the Settlement, and I understand that the

        Court-appointed Settlement Administrator may contact these clients to

        provide relevant settlement information copying myself and/or a duly

        authorized representative at my firm at the email address listed below.

5.      Each identified Eligible Claim is in compliance with the obligations imposed

        by the Identification Order.

6.      I understand that to comply with the MSA and the Court’s Identification

        Order, this Declaration must be submitted to the Court via MDL Centrality

        by the Reference Date, which deadline is fourteen (14) days after the

        Identification Order was issued.

7.      I understand and agree that my failure to identify all Eligible Claimants in

        which I or my firm is Primary Counsel is a violation of Identification Order

        and will result in: (a) dismissal with prejudice of any CAE claims in which I

        or my firm is Primary Counsel that were not identified; (b) potential

        sanctions and other penalties as may be determined by the Court, either

        pursuant to a motion of a Party or sua sponte.

8.      I have/my firm has ceased advertising, solicitation, or involvement in any way

        with the advertising or solicitation for CAE Claims as of the Settlement Date.


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9.      I swear under penalty of perjury that the foregoing is true and correct.




DATE: [MONTH] [DAY], [YEAR]                     /s/
                                                [NAME OF CAE COUNSEL]
                                                [NAME OF LAW FIRM]
                                                [ADDRESS]
                                                [ADDRESS]
                                                [ADDRESS]
                                                [TELEPHONE NUMBER]
                                                [EMAIL ADDRESS]




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             IDENTIFICATION OF CAE CLAIMANTS




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